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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )             8:04CR206
                        Plaintiff,                   )
                                                     )
          vs.                                        )              ORDER
                                                     )
ADAM SOMMER,                                         )
                                                     )
                        Defendant.                   )
          This matter is before the court on the motion of Jerry M. Hug to withdraw as counsel for
defendant Adam Sommer (Sommer) (Filing No. 289). The motion contained a handwritten motion
by Sommer requesting new counsel. The government filed an objection to the motion (Filing No.
290).
          The court held a hearing on the motion on June 22, 2005. Mr. Hug was present with
Sommer and the government was represented by Assistant U.S. Attorney Robert F. Cryne. The
court heard Sommer and Mr. Hug in camera. The court also heard the parties on the record in open
court. While the government’s objection relates more to an objection to a continuance of the trial
of this matter, the gist of Mr. Hug’s motion does not seek such a continuance. The court must
determine whether Mr. Hug adequately has and will represent Sommer in the balance of these
proceedings. Mr. Hug is exceptionally familiar with the evidence and witnesses to be presented in
this case. He is an outstanding advocate and has represented numerous defendants in federal
criminal proceedings. The court is familiar with Mr. Hug’s advocacy as a result of the pretrial
proceedings in this case and finds that Mr. Hug has performed in an able and competent manner.
The fact that Sommer is dissatisfied with Mr. Hug as a result of Sommer’s related conviction in
Douglas County District Court for first-degree murder and other charges, does not render Mr. Hug
inadequate. While Sommer may wish to be represented by other counsel, the court finds Mr. Hug
to be providing adequate representation of Sommer and the motion should be denied.
          IT IS ORDERED:
          T he motion to withdraw (Filing No. 289) incorporating Sommer’s motion to withdraw is
denied.
          DATED this 22nd day of June, 2005.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
